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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                             CRIMINAL NO.

              v.                                      GRAND JURY ORIGINAL

 MATTHEW NORMAN BALLEK,                               VIOLATIONS:

                   Defendant.                         18 U.S.C. § 2252(a)(2), (b)(1)
                                                      (Distribution of Child Pornography)


                                                      FILED UNDER SEAL



                                                 ORDER

       This matter having come before the Court pursuant to the Motion of the United States to

seal the Indictment, its Motion to Seal and proposed Order, and any Order granting its Motion, the

Court finds, because of such reasonable grounds to believe that disclosure will result in flight from

prosecution, the United States has established that a compelling governmental interest exists to

justify the requested sealing.

       IT IS THEREFORE ORDERED that the Motion is hereby GRANTED, and that the

Indictment, the United States’ Motion to Seal and proposed Order, this Order, and all related

submissions shall be FILED UNDER SEAL until the arrest warrant is executed.

       IT IS FURTHER ORDERED that the Clerk of Court shall delay any entry on the public

docket of the Indictment and other sealed filings until the arrest warrant is executed.



Dated: February 1, 2024                            ____________________________________
                                                    Honorable G. Michael Harvey
                                                    United States Magistrate Judge
